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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:11-cr-317

v.                                                          HON. JANET T. NEFF

ANDRES VINCENTE DELGADO,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Andres Vincente Delgado has filed a motion for modification or reduction of

sentence (Dkt 138) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, the defendant appears to be ineligible (Dkt 141) because the mandatory minimum

sentence of imprisonment, which is the controlling guideline, was imposed at sentencing. Defendant

has filed a response (Dkt 146) and preserves the issue for future consideration should the law

change.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 138) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




DATED: February 4, 2015                          /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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